                  Case: 1:14-cr-00497 Document #: 293 Filed: 03/24/17 Page 1 of 8 PageID #:1897
                                                                                                                                   ts


                               UNITED STATES DISTRICT COURT
                                                        Northern District of Illinois


               UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                          v.

                   ROBERT DEKELAITA                                              Number:
                                                                              Case                  14 CR   497-l

                                                                              USM Number:           47542-424



                                                                              Michael B. Nash
                                                                              Defendant's Attomey


THE DEFENDANT:
   pleaded guilry to count(s)
   pleaded nolo contendere to count(s)        which was accepted by the court.
   was found guilty on count one (l) of the second superseding indictment after a plea of not guilty.

The defendant is adiudicated guilry ofthese offenses:
Title & Section                      Nature of Offense                                                  Offense Ended              Count
l8 U.S.C. $ 371 and                  Conspiracy to commit immigration fraud                             2011                         lss
r8 u.s.c. $ rs46(b)




The defendant is sentenced as provided in pages 2 through 8 ofthisjudgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.
Xfnedefendanthasbeenfoundnotguiltyoncounts 5,6,T,and8ofthesupersedingindictment.
X ery and all remaining counts are dismissed    on the motion of the United States.

It is ordered that the defendant must notifu the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notifo the court and United States Attorney of material changes in economic circumstances.


                                                                                  312212017




                                                                                  Matthew F. Kennelly
                                                                                  Name and Title of Judge

                                                                                         3   -l.i -Zt,i7
                                                                                  Date
                 Case: 1:14-cr-00497 Document #: 293 Filed: 03/24/17 Page 2 of 8 PageID #:1898
ILND 2458 (Rev. 08/0212016) Judgment in a Criminal Case
Sheet 2 - lmorisonment                                                                      Judgment-                                            Page 2   of8
DEFENDANT: ROBERT DEKELAITA
CASE NUMBER: 14 CR 497-l
                                                                   IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

                    Fifteen (15) months as to count        I of the   second superseding indictment.

I    fne court makes the following recommendations to the Bureau of Prisons: The Court recommends defendant                    be placed at FCI Oxford

     due to family ties.

E    fne defendant is remanded to the custody of the United             States Marshal.

E    nre defendant shall surrender to the United          States Marshal for this district:

          Eut              on

     E    ur notified by the United States Marshal.

     X    fne defendant shall surrender for service of sentence           at the institution desigrated by the Bureau of Prisons:

          X    before 2:00 pm on July 25,2017.

          E    ur notified by the United States Marshal.

          E    ur notified by the Probation or Pretrial Services Office.




                                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                                      with a certified copy of this
judgment.




                                                                                               UNITED STATES MARSHAL


                                                                                          By
                                                                                               DEPUTY UNITED STATES MARSHAL
                           Case: 1:14-cr-00497
ILND 2458 (Rev. 08/02/2016) Judgment in
                                                     Document #: 293 Filed: 03/24/17 Page 3 of 8 PageID #:1899
                                         a Criminal Case
   -
Sheet 3       Supervised   Release                                                                      Judgment-                                   Page 3   ofS
DEFENDANT: ROBERT DEKELAITA
CASENUMBER: 14CR497-l

              MANDATORY CONDTTTONS OF SUPERVTSED RELEASE PURSUANT TO                                                      18 U.S.C S 3s83(d)

Upon release from imprisonment, you shall be on supervised release for a term of:

                   One   (l)   year as to count   I of the   second superseding indictment.

         You must report to the probation office in the district to which you are released within 72 hours of release from the custody of the
Bureau of Prisons. The court imposes those conditions identified by checkmarks below:

During the period of supervised release:
X         (   l)   you shall not commit another Federal, State, or local crime.
X         (2) you shall not unlawfully possess a controlled substance.
n         (3) you shall attend a public, private, or private nonprofit offender rehabilitation program that has been approved by the court,                  if
                   an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
                   domestic violence crime, as defined in $ 3561(b).1
tr        (4)      you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. S
                   r6913).
X         (5) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
tr        (6) you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within l5 days of release on
              supervised release and at least two periodic tests thereafter, up to 104 periodic tests for use ofa controlled substance during
                   each year ofsupervised release. [This mandatory condition may be ameliorated or suspended by the court for any defendant
                   if reliable sentencing information indicates a low risk of future substance abuse by the defendant.]


    DrscRETroNARy CONDTTTONS OF SUPERVTSED RELEASE PURSUANT TO                                                           18 U.S.C S 3s63(b)                   AND
                                                                              18 U.S.C $ 3s83(d)

Discretionary Conditions        The court orders that you abide by the following conditions during the term of supervised release because such
                                        -
conditions are reasonably related to the factors set forth in $ 3553(aXl) and (aX2XB). (O. and (D): such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in $ 3553 (aX2) (B). (O. and (D); and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:

During the period ofsupervised release:
tr (l)                you shall provide financial support to any dependents iffinancially able.
n Q)                  you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of $ 3663(a) or
                      $   3663A(cXlXA)).
tr        (3)         you shall give to the victims of the offense notice pursuant to the provisions of $ 3555, as follows:      ,
                                                                                                                            ::::'::::'::   :,:,:'



tr        (4)         you shall seek, and work conscientiously at, lawful employment or pursue conscientiously a course of study or
                      vocational training that will equip you for employment.
tr        (5)         you shall refrain from engaging in a specified occupation, business, or profession bearing a reasonably direct relationship
                      to the conduct constituting the offense, or engage in such a specified occupation, business, or profession only to a stated
                      degree or under stated circumstances; (ifchecked yes, please indicate restriction(s)) .:r . .
!         (6)         you shall refrain from knowingly meeting or communicating with any person whom you know to be engaged, or
                      planning to be engaged, in criminal activity and from:
                      f]   visiting the following type of places:         :
                                                                         i.
                      !    knowingly meeting or communicating with the following persons:
tre)                  you shall refrain from
                      than 0.08; or    E
                                                   I
                                                   any or       !
                                                              excessive use ofalcohol (defined as  !    having a blood alcohol concentration greater
                                               ), or any use of a narcotic drug or other controlled substance, as defined in $ 102 of the Controlled
                      Substances Act (21 U.S.C. S 802), without a prescription by a licensed medical practitioner.
X         (8)         you shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
tr        (e)              you shall participate, at the direction of a probation officer, in a substance abuse teatment program, which may
                           include urine testing up to a maximum of 104 tests per year.
                      tr   you shall participate, at the direction of a probation offrcer, in a mental health treatment program, which may include
                           the use of prescription medications.
                      f] yo, shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specifu: .)
                            Case: 1:14-cr-00497 Document #: 293 Filed: 03/24/17 Page 4 of 8 PageID #:1900
ILND 2458 (Rev. 08/02/2016) Judgment in        a   Criminal Case
   - Supervised Release
Sheet 3                                                                                                                             Judgment   -   Page 4 of 8

DEFENDANT: ROBERT DEKELAITA
CASENUMBER: 14CR497-1



n         (10)         (intermittent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                       intervals of time, totaling I .r , [no more than the lesser of one year or the term of imprisonment authorized for the
                       offense], during the first year ofthe term ofsupervised release (provided, however, that a condition set forth in $
                       3563(bxl0) shall be imposed only for a violation of a condition of supervised release in accordance with $ 3583(eX2)
                       and only when facilities are available) for the following period
tr        (   I   l)   (community confinement): you shall reside at, or participate in the program of a community corrections facility
                       (including a facility maintained or under contract to the Bureau of Prisons) for all or part of the term of supervised
                       release, for a period of         months.
tr (12)                you shall work in community service for ,                  as directed by a probation officer.
                                                                        " ""49-l^

n         (13)         you shall reside in the following place or area:ffi, or refrain from residing in a specified place or area: ..
x         (14)         you shall remain within the jurisdiction where you are being supervised, unless granted permission to leave by the court
                       or a probation officer.
x         (15)         you shall report to a probation officer as directed by the court or a probation officer.
tr (16)                X you shall permit a probation officer to visit you X at any reasonable time or I as specified: ,
                                X at home              ! at work                   E at school                    !   at a community service location
                                I other reasonable location specified by a probation officer
                       X      you shall permit confiscation ofany contraband observed in plain view ofthe probation officer.
x         (   l7)      you shall notiry a probation officer promptly, within 72 hours, of any change in residence, employer, or workplace and,
                       absent constitutional or other legal privilege, answer inquiries by a probation officer.
x          8)
          (I           you shall notiry a probation officer promptly, within 72 hours, if arrested or questioned by a law enforcement officer.
n         (19)         (home confinement): you shall remain at your place of residence for u,otu1 of ::.;,,,:rri:. months during nonworking hours.
                       [This condition may be imposed only as an alternative to incarceration.]
                              Compliance with this condition shall be monitored by telephonic or electronic signaling devices (the selection of
                              which shall be determined by a probation officer). Electronic monitoring shall ordinarily be used in connection
                              with home detention as it provides continuous monitoring of your whereabouts. Voice identification may be used
                              in lieu of electronic monitoring to monitor home confinement and provides for random monitoring of your
                              whereabouts. If the offender is unable to wear an electronic monitoring device due to health or medical reasons, it
                              is recommended that home confinement with voice identification be ordered, which will provide for random
                              checks on your whereabouts. Home detention with electronic monitoring or voice identification is not deemed
                              appropriate and cannot be effectively administered in cases in which the offender has no bona fide residence, has a
                              history of violent behavior, serious mental health problems, or substance abuse; has pending criminal charges
                              elsewhere; requires fiequent travel inside or outside the district; or is required to work more than 60 hours per
                                week.
                       tr       You shall pay the cost of electronic monitoring or voice identification at the daily contractual rate, if you are
                                financially able to do so.
                       n The Court waives the electronic/location monitoring component of this condition.
tr        (20)         you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State,
                       the District of Columbia, or any other possession or territory of the United States, requiring payments by you for the
                       support and maintenance of a child or of a child and the parent with whom the child is living.
tr        (21)         (deportation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                       determination on the issue of depotability by the appropriate authority in accordance with the laws under the
                       Immigration and Nationality Act and the established implementing regulations. If ordered deported, you shall not
                       reenter the United States without obtaining, in advance, the express written consent of the Attorney General or the
                       Secretary of the Department of Homeland Security.
tr        (22)         you shall satisry such other special conditions as ordered below.
tr        (23)         (if required to register under the Sex Offender Registration and Notification Act) you shall submit at any time, with or
                       without a warrant, to a search ofyour person and any property, house, residence, vehicle, papers, computer, other
                       electronic communication or data storage devices or media, and effects, by any law enforcement or probation officer
                       having reasonable suspicion concerning a violation of a condition of supervised release or unlawful conduct by you, and
                       by any probation officer in the lawful discharge of the officer's supervision functions (see special conditions section).

tr (24)                Other:
                   Case: 1:14-cr-00497 Case
                                        Document #: 293 Filed: 03/24/17 Page 5 of 8 PageID #:1901
ILND 2458 (Rev. 08/0212016) Judgment in   a   Criminal
    - Supervised Release
Sheet 3                                                                                                                Judgment   -   Page 5 of 8

DEFENDANT: ROBERT DEKELAITA
CASE NUMBER: 14 CR497-1



SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C.3s63(bx22) and 3583(d)
The court imposes those conditions identified by checkmarks below:

During the term of supervised release:
tr (l) if you have not obtained a high schooldiploma or equivalent, you shallparticipate in a General Educational
              Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
n Q)          you shall participate in an approved job skill-haining program at the direction of a probation officer within the first 60
              days of placement on supervision.
n (3)         you shall, if unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off
              from employment, perform at least 20 hours of community service per week at the direction of the U.S. Probation Office
              until gainfully employed. The amount of community service shall not     exceed         hours.
tr (4)        you shall not maintain employment where you have access to other individual's personal information, including, but not
              limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
tr (5)        you shall not incur new credit charges or open additional lines ofcredit without the approval ofa probation officer unless
              you are in compliance with the financial obligations imposed by this judgment.
n (6)         you shall provide a probation officer with access to any requested financial information necessary to monitor compliance
              with conditions of supervised release.
tr O           you shall notifl/ the court of any material change in your economic circumstances that might affect your ability to pay
               restitution, fines, or special assessments.
tr (8)         you shall provide documentation to the IRS and pay taxes as required by law.
n     (9)      you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
               probation officer. You shall comply with all recommended treatment which may include psychological and physiological
               testing. You shall maintain use of all prescribed medications.
               tr You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                       United States Probation Office. You shall consent to the installation of computer monitoring software on all
                       identified computers to which you have access. The software may restrict and/or record any and all activity on the
                       computer, including the capture of keystrokes, application information, Internet use history, email
                       correspondence, and chat conversations. A notice will be placed on the computer at the time of installation to
                       warn others of the existence of the monitoring software. You shall not remove, tamper with, reverse engineer, or
                       in any way circumvent the software.
               tr The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                       to satisfaction of other financial obligations imposed by this judgment.
               tr You shall not possess or use any device with access to any online computer service at any location (including
                       place of employment) without the prior approval of a probation officer. This includes any Intemet service
                       provider, bulletin board system, or any other public or private network or email system.
               n You shall not possess any device that could be used for covert photography without the prior approval ofa
                       probation officer.
               tr You shall not view or possess child pornography. If the treatment provider determines that exposure to other
                       sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                       to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
                       determination, pursuant to l8 U.S.C. $ 3583(e)(2), regarding whether to enlarge or otherwise modifu the
                       conditions of supervision to include conditions consistent with the recommendations of the treatment provider.
               tr You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put
                       you in unsupervised private contact with any person under the age of 18, or visit locations where children
                       regularly congregate (e.g., locations specified in the Sex Offender Registration and Notification Act.)
               t] This condition does not apply to your family members: .rr1l,;ri,l. [Names]
               tr Your employment shall be restricted to the district and division where you reside or are supervised, unless
                       approval is granted by a probation officer. Prior to accepting any form ofemploymentyou shall seek the approval
                       ofa probation officer, in order to allow the probation officer the opportunity to assess the level ofrisk to the
                       community you will pose if employed in a particular capacity. You shall not participate in any volunteer activity
                       that may cause you to come into direct contact with children except under circumstances approved in advance by
                       a probation officer and treatment provider.
               tr You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
                       any other financial information requested.
                    Case: 1:14-cr-00497      Document #: 293 Filed: 03/24/17 Page 6 of 8 PageID #:1902
                                  a Criminal Case
ILND 2458 (Rev. 08/02/2016) Judgment in
    - Supervised Release
Sheet 3                                                                                                                Judgment   -   Page 6 of 8

DEFENDANT: ROBERT DEKELAITA
CASE NUMBER: 14 CR 497-1



               tr     You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                      impose restrictions beyond those set forth in this order.
a l0) (       you shall pay any financial penalty that is imposed by this judgment that remains unpaid at the commencement of the
              term of supervised release. Your monthly payment schedule shall be an amount that is at least I 0% of your net monthly
              income, defined as income net of reasonable expenses for basic necessities such as food, shelter, utilities, insurance, and
              employment-related expenses.
tr ( I )  I   you shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
              permission of the court.
tr (12)       you shall repay the United States "buy money" in the amount of    $        which you received during the commission of
              this offense.
tr ( l3)      if the probation officer determines that you pose a risk to another person (including an organization or members of the
              community), the probation officer may require you to tell the person about the risk, and you must comply with that
              instruction. Such notification could include advising the person about your record ofarrests and convictions and
              substance use. The probation officer may contact the person and confirm that you have told the person about the risk.
                          -,,
tr (14)        Other:1,         '::',,
                  Case: 1:14-cr-00497
ILND 2458 (Rev. 08/02/2016) Judgment in
                                           Document #: 293 Filed: 03/24/17 Page 7 of 8 PageID #:1903
                                a Criminal Case
                      Penalties
Sheet 5 - Criminal Monetary                                                                      Judgment - Page 7 of 8

DEFENDANT: ROBERT DEKELAITA
CASE NUMBER: l4 CR 497-1
                                           CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                  Assessment                                              Fine                        Restitution
    Totals                        S100.00                                                 $70,000.00                  $0.00



E    fne determination of restitution is deferred   until      . An Amended Judgment in a Criminal Case (Ao 245C) will be entered after such
     determination.

!    fne defendant must make restitution (including community restitution) to the following      payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. $ 3664(i), all nonfederal victims must be paid
     before the United States is paid.

     Name of Payee                                      Total Loss*             Restitution Ordered                            Priority or
                                                                                                                               Percentape




                                             Totals:

     tr         Restitution amount ordered pursuant to plea agreement $

     tr         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 36I2(f). All of the payment options on Sheet 6 may be
                subject to penalties for delinquency and default, pursuant to l8 U.S.C. $ 3612(9).

     tr         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                tr       the interest requirement is waived for the

                tr       the interest requirement for   the     is modified as follows:

       tr       The defendant's non-exempt assets, if any, are subject to immediate execution to satisf, any outstanding restitution or fine
                obligations.


* Findings forthe total amount oflosses are required under Chapters 109A,        ll0, ll0A,   and l13A of Title l8 for offenses committed on or
after September 13,1994, but before April 23, 1996.
                    Case: 1:14-cr-00497 Document #: 293 Filed: 03/24/17 Page 8 of 8 PageID #:1904
ILND 2458 (Rev. 08/02/201 6) Judgment in   a   Criminal Case
Sheet 6 - Schedule of Payments

DEFENDANT: ROBERT DEKELAITA
CASE NUMBER: 14 CR497-1
                                                               SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      X       Lump sum payment of $70,100.00 due immediately.

               tr        balance due not later         than         , or

               tr        balance due in accordance with            E   c,   E   D,   E   E, or   I    r below;or

Btr            Payment to begin immediately (may be combined with                    E    C,   n     D, or   E   n below); or

Ctr            Payment in equal
               commence
                                                (e.g. weekly, monthly, quarterl$ installments of
                                    (e.g., 30 or 60 days) after the date  of this judgment; or
                                                                                                             $         over a period   of   (e.g., months or years), to




        tr     Payment in    equal              (e.g. weekly, monthly, quarterly) installments of            $
                                                                                                            over a period              of   (e.g., months or   years),to
               commence             (e.g., 30 or 60 days)       after release from imprisonment to a term of supervision; or

        u      Payment during the term of supervised release will commence within         (e.g., 30 or 60 days) after release from imprisonment.
               The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

        tr     Special instructions regarding the payment of criminal monetary penalties:



Unless the courl has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

tr      Joint and Several

Case Number                                             Total Amount                      Joint and Several                Corresponding Payee,   if
Defendant and Co-Defendant Names                                                          Amount                           Appropriate
(including defendant nu mber)



tr      The defendant shall pay the cost ofprosecution.

tr      The defendant shall pay the following court cost(s):

tr      The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: ( I ) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
